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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION                         FILED
 UNITED STATES OF AMERICA §                                                          NOV 1 3 2020
                                               §                                 Clerk, U.S. District Court
 v.                             §                         No. 4:20CR3Sl3         Eastern District of Texas
                                               §          judge ordan
 JORDAN JOHNSON §

                                          INDICTMENT

    THE UNITED STATES GRAND JURY CHARGES:
                                              Count One

                                                     Violation: 18 U.S.C. § 922(n)
                                                     (Receipt of Firearms by a Person Under
                                                     Indictment)

        On or about October 22, 2020, within the Eastern District of Texas, Jordyn Johnson,

defendant, while knowing that he was under indictment for a crime punishable by imprisonment

for a term exceeding one year, did knowingly receive firearms, namely, a Glock Model

19CGen4, with Glock switch, 9mm pistol machinegun, serial number AACH792, a B. King s

Firearms, Model BFK-15, Multicaliber rifle, serial number BFK-000491, and a Glock, Model 26,

9mm pistol, serial number NFP949, which had been shipped and transported in interstate or

foreign commerce.


        In violation of 18 U.S.C. § 922(n).


                                              Count Two

                                                     Violation: 18 U.S.C. § 922(o) (Possession
                                                     of a machine gun)

       On or about October 22, 2020, within the Eastern District of Texas, Jordyn Johnson,

defendant, did knowingly possess a firearm as defined under Title 26, United States Code,




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Jordyn Johnson
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Section 5845(b), namely a Clock Model 19CGen4, with Clock switch, 9mm pistol machinegun,

serial number AACH792.

       In violation of 18 U.S.C.§§ 922(o).


                                          Count Three

                                                     Violation: 26 U.S.C. § 5861(d) (Possession
                                                     of a Firearm Not Registered in the National
                                                     Firearms Registration and Transfer Record)

   On or about October 22, 2020, in the Eastern District of Texas, Jordyn Johnson, the

defendant, did knowingly possess a firearm, namely, a B. King s Firearms, Model BFK-15,

multicaliber rifle, serial number BFK-00049, not registered to him in the National Firearms

Registration and Transfer Record.

   In violation of 26 U.S.C. § 5861(d).


             NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

       As a result of committing the offense charged in this Indictment, the defendant shall

forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. 2461, all property used

to commit or facilitate the offenses, proceeds from the offenses, and property derived from

proceeds obtained directly or indirectly from the offenses.

       a. a Clock Model 19CGen4, with Clock switch, 9mm pistol machine gun, serial number

           AACH792;

       b. a B. King’s Firearms EEC, Model BFK-15, multicaliber rifle, serial number BFK-

           000491;

       c. a Clock, Model 26, 9mm pistol, serial number NFP949; and

       d. Any ammunition related to the case.




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                                         A TRUE BILL




                                         GRAND JURY FOREPERSON

STEPHEN J. COX
UNITED STATES ATTORNEY


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TRACEY M./BATSON                         Dat(
Assistant United States Attorney




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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 UNITED STATES OF AMERICA §
                                             §
 v-                             §                        No. 4:20CR3ol3
                                             §           Judge or \
 JORDYN JOHNSON §

                                        NOTICE OF PENALTY

                                            Count One

Violation: 18 U.S.C. § 922(n)

Penalty: Imprisonment for a term of not more than ten years; a fine not to exceed
                $250,000.00; and supervised release of not more than three years.

Special Assessment: $100.00
                                            Count Two

Violation: 18 U.S.C. § 922(o)

Penalty: Imprisonment for a term of not more than ten years; a fine not to exceed
                $250,000.00; or both; and supervised release of not more than three years.

Special Assessment: $100.00


                                           Count Three

Violation: 26 U.S.C. § 5861(d)

Penalty: Imprisonment for a term of not more than ten years, a fine not to exceed $ 10,000,
               or both; and supervised release of not more than three years.


Special Assessment: $100.00




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Jordyn Johnson
